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                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF MASSACHUSETTS                          ! ?: f



                               Civil Action No. 3:19-cv-30056-MGM *SEALED*




                                                                        {, an individual,
                                                             Plaintiff,

                                                                   V.



        UMass-Amherst, a Massachusetts public institution of more than 300 employees,
                             Dr. Derek Lovley, an individual,
                            Dr. Toshiyuki Ueki, an individual,
                              Dr. John Lopes, an individual,
                                                           Defendants.




                                                   Dated August 12,2019


        MOTION FOR FILING UNDER SEAL WITH COURT EX-PARTE REVIEW
                                  LEGAL MEMORANDUM IN SUPPORT OF
                    AUGUST 12, 2019 SECOND MOTION FOR IMPOUNDMENT



Plaintiff respectfully requests that the legal memorandum dated August 12, 2019 (and its 39
appended exhibits) in support of her second motion for impoundment be filed under the seal pre-
ordered on the case 3:19-cv-30056-MGM and reviewed ex-parte by this Honorable Court.

Respectfully submitted,
                                Pro Se




Motion for filine Aueust 12. 2019 lesal memorandum under seal with ex-narte review 081219




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